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U.S, Department of Homeland Security
U.S. Citizenship and Immigration Services
May 31, 2018

California Service Center
Laguna Niguel, CA 92607-0590

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US. Citizenship

STELLAR SOFTWARE NETWORK INC @

c/o MICHAEL EDWARD PISTON " I); ane pomigranon
TRANSNATIONAL LEGAL SERVICE PC

1955 W HAMLIN RD STE 100

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Form I-129, Petition for a Nonimmigrant Worker WAC1723351576

DECISION

On August 29, 2017, your organization, STELLAR SOFTWARE NETWORK INC, filed a Petition
for a Nonimmigrant Worker (Form I-129), with U.S. Citizenship and Immigration Services (USCIS),
seeking to classify KRISHNAMURTHY, KARTIK (beneficiary) as a temporary worker in a specialty
occupation (H-1B) under section 101(a)(15)(H)(i)(b) of the Immigration and Nationality Act (INA).

INA § 101(a)(15)(H)(i)(b) provides, in part, for the classification of a qualified nonimmigrant:

...who is coming temporarily to the United States to perform services. ..in a specialty
occupation described in section 214(i)(1)..., who meets the requirements for the occupation
specified in section 214(i)(2)..., and with respect to whom the Secretary of Labor determines
and certifies. ..that the intending employer has filed with the Secretary an application under
section 212(n)(1).

You seek a change in previously approved employment and requested that USCIS extend the
beneficiary’s stay.

You stated on the Form J-129 that you are an IT consulting and software development company with
20 employees. You seek to employ the beneficiary as a Senior Project Manager from August 29, 2017
to August 29, 2018.

USCIS reviewed the initial record of evidence for eligibility in accordance with the INA and Title 8,
Code of Federal Regulations (8 CFR) and could not determine whether you had established eligibility
for the benefit sought. Accordingly, USCIS issued a Request for Evidence (RFE) on January 23,
2018. On March 20, 2018, the petition was denied based on the submitted evidence. On April 17,
2018, as part as of a combined motion to reopen and reconsider, you submitted a response and the
petition was consequently reopened.

After careful review and consideration of the entire record, based on a preponderance of the evidence,
the petition will be denied for the reasons discussed below.

No Employer-Employee Relationship

The first issue to be discussed is whether you have established that you have an employer-employee
relationship with the beneficiary.

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8 CFR § 214.2(h)(4)(ii) defines the term “United States employer” as follows:

United States employer means a person, firm, corporation, contractor, or other association, or
organization in the United States which:

(1) Engages a person to work within the United States;

(2) Has an employer-employee relationship with respect to employees under this part,
as indicated by the fact that it may hire, pay, fire, supervise, or otherwise control the
work of any such employee; and

(3) Has an Internal Revenue Service Tax identification number.

Neither the legacy Immigration and Naturalization Service (INS) nor USCIS has defined the terms
“employee,” “employed,” “employment,” or “employer-employee relationship” by regulation for
purposes of the H-1B visa classification, even though the regulation describes H-1B beneficiaries as
“employees” who must have an “employer-employee relationship” with a U.S. employer. Therefore,
for purposes of the H-1B visa classification, these terms are undefined.

Thus, in considering whether or not one is an “employee” in an “employer-employee relationship”
with a “United States employer” for purposes of H-1B nonimmigrant petitions, USCIS focuses on the
common-law touchstone of “control.” See 8 CFR § 214.2(h)(4)(ii)(2) defining a “United States
employer” as one who “has an employer-employee relationship with respect to employees under this
part, as indicated by the fact that it may hire, pay, fire, supervise, or otherwise control the work of any
such employee... .” (Emphasis added)

You are and IT consulting and software development company which, it appears, does not produce
any software products of your own but rather, contracts with numerous outside companies in order to
supply these companies with employees to fulfill specific staffing needs or complete service contracts.

The proposed duties at the time the petition was filed indicate that, although you will act as the
beneficiary’s employer, you intend to place the beneficiary at work location(s) pursuant to consulting
agreements with third-party end clients or users.

Subsequently, you were requested to provide additional evidence to establish that a valid
employer-employee relationship will exist between you and the beneficiary, and that you have the
right to control when, where, and how the beneficiary performs the work at the end-clients’ location,
including the ability to hire, fire, and supervise the beneficiary through the duration of the requested
H-1B validity period.

USCIS provided a non-exhaustive list of items that could be used to satisfy the employer-employee
relationship requirement. USCIS also informed you what the evidence should describe to determine if
you have a sufficient level of control over the employee placed at a third-party location.

Subsequent to your response, the record contains the following documents regarding the
employer-employee relationship:

e Letter of support;

e Copy of a signed Employment Agreement between you and the beneficiary;
e Copy ofa letter from Sharp Decisions Inc.;

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e Copy of the performance review form;

e Copy of the work itinerary;

e E-mail correspondence;

e Copy of the Master Service Agreement between Sharp Decisions Inc. and Honda North
America;

e Copy of the Contractor Agreement between you and Sharp Decisions Inc.;

e Copy of the Purchase Order between you and Sharp Decisions Inc.;

e A letter from the end-client, Honda North America;

e Copy of your organizational chart.

The record has been reviewed in its entirety to establish whether you have the right to control the
beneficiary’s employment at the third-party end client and it has been determined that you have not
met the employer-employee relationship test for the following reasons:

In this case, you placed the beneficiary to work at the end-client location, Honda North America.
Although you submitted a copy of the employment agreement, work itinerary, copy of the agreements
between you and Sharp Decisions Inc., and agreement between the end-client and Sharp Decisions
Inc., you were unable to provide the Service with sufficient information regarding the end-client
placement of the beneficiary. The record remains absent of evidence regarding the work at the
end-client's facility. Without the statement of work, it is not shown that a valid employer and
employee relationship and availability of specialty occupation work will exist for the duration of the
requested validity period.

While evidence, such as an employment agreement and performance review form, indicate that you
may be responsible for the beneficiary’s salary and benefits, you do not appear to otherwise have the
right or ability to assign, control, review, or supervise the beneficiary’s work. Therefore, it appears that
your role is likely limited to invoicing and payment for the hours worked by the beneficiary and
ultimately the functions of a payroll administrator.

Engaging a person to work in the United States is more than merely paying the wage or placing that
person on payroll.” Memo, Neufeld, Associate Director of Service Center Operations, Determining
Employer-Employee Relationship for Adjudications of H1B Petitions, Including Third-Party Site
Placements, January 08, 2010. While evidence such as pay records may be considered as a pertinent
factor in determining your relationship with the beneficiary, other factors such as the work location,
supervision right, the right or ability to affect the beneficiary’s assigned projects etc. must also be
weighed in order to make a determination as to whether a valid employer-employee exists.

Other than putting the beneficiary on your payroll and providing benefits, you have not established

your role as an employer in the beneficiary’s employment. You have not provided sufficient
documentary evidence to demonstrate how you supervise or oversee the beneficiary’s work while he
performs his duties at the client’s site. There is no indication that the beneficiary is required to use your
proprietary tool or software to perform his duties. Nor is there evidence that you will evaluate the
end-product of the beneficiary’s work.

Therefore, you have not established that you will be a “United States employer” having an
“employer-employee relationship” with the beneficiary as an H-1B temporary “employee.”

Specialty Occupation

The next issue to be discussed is whether the position offered to the beneficiary qualifies as a specialty
occupation.

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INA § 214(i)(1) defines “specialty occupation” as follows, in relevant part:
..the term “specialty occupation” means an occupation that requires-
(A) theoretical and practical application of a body of highly specialized knowledge, and

(B) attainment of a bachelor’s or higher degree in the specific specialty (or its equivalent) as a
minimum for entry into the occupation in the United States.

8 CFR § 214.2(h)(4)(ii) defines a specialty occupation to mean:

...an occupation which requires theoretical and practical application of a body of highly
specialized knowledge in fields of human endeavor including, but not limited to, architecture,
engineering, mathematics, physical sciences, social sciences, medicine and health, education,
business specialties, accounting, law, theology, and the arts, and which requires the attainment
of a bachelor’s degree or higher in a specific specialty, or its equivalent, as a minimum for
entry into the occupation in the United States.

Pursuant to 8 CFR § 214.2(h)(4)(iii)(A), to qualify as a specialty occupation, the position must meet
one of the following criteria:

(1) A baccalaureate or higher degree or its equivalent is normally the minimum requirement for
entry into the particular position;

(2) The degree requirement is common to the industry in parallel positions among similar
organizations or, in the alternative, an employer may show that its particular position is so
complex or unique that it can be performed only by an individual with a degree;

(3) The employer normally requires a degree or its equivalent for the position; or

(4) The nature of the specific duties are so specialized and complex that knowledge required to
perform the duties is usually associated with the attainment of a baccalaureate or higher degree.

A specialty occupation is defined as one that requires the theoretical and practical application of a
body of highly specialized knowledge and the attainment of a bachelor’s or higher degree in the
specific specialty (or its equivalent) as a minimum for entry into the occupation in the United States.
The regulations at 8 CFR § 214.2(h)(4)(iii)(A) further clarify how a position can qualify as a specialty
occupation. However, it should be noted that 8 CFR § 214.2(h)(4)(iii)(A) must logically be read
together with INA § 214(i)(1) and 8 CFR § 214.2(h)(4)(ii). Hence, the criteria stated in 8 CFR §
214.2(h)(4)Gii)(A) should logically be read as being necessary but not necessarily sufficient to meet
the statutory and regulatory definition of specialty occupation. To otherwise interpret this section as
stating the necessary and sufficient conditions for meeting the definition of specialty occupation
would result in particular positions meeting a condition under 8 CFR § 214.2(h)(4)(iii)(A) but not the
statutory or regulatory definition. To avoid this illogical result, 8 CFR § 214.2(h)(4)(iii)(A) must
therefore be read as providing supplemental criteria that must be met in accordance with, and not as
alternatives to, the statutory and regulatory definitions of specialty occupation. As such and consistent
with INA § 214(i)(1) and the regulation at 8 CFR § 214.2(h)(4)(ii), USCIS consistently interprets the
term “degree” in the criteria at 8 CFR § 214.2(h)(4)(iii)(A) to mean not just any bachelor’s or higher
degree, but one in a specific specialty that is directly related to the proffered position. Applying this
standard, USCIS regularly approves H-1B petitions for qualified nonimmigrants who are to be

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employed as engineers, computer scientists, certified public accountants, college professors, and other
such occupations. These professions, for which petitioners have regularly been able to establish a
minimum entry requirement in the United States of a bachelor’s or higher degree in a specific
specialty or its equivalent directly related to the duties and responsibilities of the particular position,
fairly represent the types of specialty occupations that Congress contemplated when it created the
H-1B visa category.

USCIS does not solely rely upon a title when determining whether a particular position qualifies as a
specialty occupation. USCIS considers the specific duties of the offered position combined with the
nature of the petitioning entity’s business operations. While it is not for USCIS to make a
determination as to your organization’s financial allocation or business necessity for a given position,
you must show that the position actually exists. It is not sufficient for a petitioner to merely state that
it will employ an individual to perform duties that are characteristic of those found in a particular
specialty occupation. Instead, there must be a reasonable and credible offer of employment that is
consistent with the needs of the petitioning organization. This can be shown by demonstrating that the
types of duties to be performed are normal and customary requirements in similar organizations in
your industry. Or you can present specific, credible evidence showing that its organization has unique
and specific needs for such services for the period of time in which you intend to employ the
individual, which is not the case in this instance.

Subsequent to the filing of the petition, you were requested to provide additional evidence to include a
detailed description of the actual duties to be performed by the beneficiary on a day-to-day basis, and
evidence to establish that the position meets the standards to qualify as a specialty occupation.
Additionally, you were requested to submit more information about the products and services
provided by you, and lists or organizational charts showing employees and the positions they occupy.

The record contains the following documents regarding the position subsequent to your response to the
RFE:

e Letter of support;

e Copy of a signed Employment Agreement between you and the beneficiary;

e Copy ofa letter from Sharp Decisions Inc.;

e Copy of the performance review form;

e Copy of the work itinerary;

« E-mail correspondence;

« Copy of the Master Service Agreement between Sharp Decisions Inc. and Honda North
America;

e Copy of the Contractor Agreement between you and Sharp Decisions Inc.;

e Copy of the Purchase Order between you and Sharp Decisions Inc.;

e A letter from the end-client, Honda North America;

e Copy of your organizational chart.

Without a statement of work detailing the project's outline description, duration, role and the
beneficiary's duties to demonstrate the end-client will actually use computer occupations for daily
assignments, you have not established that the final duties of the proffered position are those of a
specialty occupation. Nor have you established that your client has required that the degree must be in
a specific specialty.

The present record does not demonstrate the specific duties the beneficiary would perform under

contract for your clients. The court in Defensor v. Meissner, 201 F. 3d 384 (5th Cir. 2000) held that
for purposes of determining whether a proffered position is a specialty occupation, a petitioner acting

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in a similar manner as your organization is merely a “token employer,” while the entity for which the
services are to be performed is the “more relevant employer.” The Defensor court recognized that
evidence of the client companies’ job requirements is critical where the work to be performed is for an
entity other than your organization. Accordingly, the court held that the legacy Immigration and
Naturalization Service (Service, now CIS) had reasonably interpreted the Act and regulations to
require that a petitioner produce evidence that the proffered position qualifies as a specialty
occupation on the basis of the requirements imposed by the entities using the beneficiary’s services.

In sum, you have not shown that there is a reasonable and credible offer of employment that is
consistent with your organization and that the position meets any of the four factors enumerated at 8
CFR § 214.2(h)(4)(iii)(A). Thus, you have not demonstrated that the proffered position is a specialty
occupation.

The burden of proof to establish eligibility for the benefit request rests with you. Here, that burden has
not been met.

Consequently, the petition is denied for the above stated reasons, with each considered as an
independent and alternative basis for denial.

If you disagree with this decision, you may appeal to the Administrative Appeals Office (AAO) by
filing a Notice of Appeal or Motion (Form I-290B) within 30 days (33 days if by mail) of the date of
this decision. Alternatively, you may use Form I-290B to submit a motion to reopen or reconsider.

For the latest information on filing location, fee, and other requirements, please review the Form
I-290B instructions at http://www.uscis.gov/forms, call our USCIS Contact Center at 1-800-375-5283,
or visit your local USCIS office.

The Small Business Regulatory Enforcement and Fairness Act established the Office of the National
Ombudsman (ONO) at the Small Business Administration. The ONO assists small businesses with
issues related to federal regulations. If you are a small business with a comment or complaint about
regulatory enforcement, you may contact the ONO athttp://www.sba.gov/ombudsman or

phone 202-205-2417 or fax 202-481-5719.

Sincerely,

Kathy A. Baran
Director, California Service Center

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